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                                 UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION


       TRANSCEND SHIPPING SYSTEMS, LLC,
               Plaintiff,
                                                              Case No. 6:21-cv- 497
                    v.
                                                              JURY TRIAL DEMANDED
       J.B. HUNT TRANSPORT SERVICES,
       INC. AND J.B. HUNT TRANSPORT,
       INC.,
                  Defendants.


                         ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

            Transcend Shipping Systems, LLC (“Transcend”) hereby files this Original Complaint for Patent

     Infringement against J.B. Hunt Transport Services, Inc. and J.B. Hunt Transport, Inc. (collectively

     “Defendants” and “JBH”), and alleges, upon information and belief, as follows:

                                                THE PARTIES

1.      Transcend is a limited liability company organized and existing under the laws of the State of

        Florida with its principal place of business at 600 S. Dixie Highway, Suite 605, West Palm Beach,

        Florida 33401.

2.      Upon information and belief, J.B. Hunt Transport Services, Inc. is a corporation organized and

        existing under the laws of the state of Arkansas with its principal office at 615 J.B. Hunt Corporate

        Drive, Lowell, AR 72745. Upon information and belief, J.B. Hunt Transport, Inc. is a corporation

        organized and existing under the laws of the state of Georgia with its principal office at P.O. Box

        130, Lowell, AR 72745, and is a wholly owned subsidiary of J.B. Hunt Transport Services, Inc..




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                                           JURISDICTION AND VENUE

3.      Subject matter jurisdiction is proper under 28 U.S.C. §§ 1331, 1332, 1338, and 1367.

4.      The Court has personal jurisdiction under the Texas Long Arm Statute and the Due Process Clause

        of the U.S. Constitution over JBH because they are present within or have minimum contacts within

        the State of Texas, including the Western District of Texas.

5.      JBH has sought protection and benefit from the laws of the State of Texas; JBH regularly conducts

        business within the State of Texas and within the Western District of Texas; and Plaintiff’s cause of

        action arises directly from JBH’s business contacts and other activities in the State of Texas and in

        the Western District of Texas. More specifically, JBH, directly and/or through intermediaries, ship,

        distribute, use, offer for sale, sell, and/or advertise products and services in the United States, the

        State of Texas, and the Western District of Texas including but not limited to the Accused

        Instrumentalities as detailed below. Upon information and belief, JBH has committed patent

        infringement in the State of Texas and in the Western District of Texas. JBH solicits and has

        solicited customers in the State of Texas and in the Western District of Texas. JBH has paying

        customers, who are residents of the State of Texas and the Western District of Texas, who each use

        and have used the JBH’s products and services in the State of Texas and in the Western District of

        Texas.

6.      As an example, JHB is actively recruiting for multiple positions located throughout Texas, including

        in this District (See Figures 1-4 below).




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                                                Figure 11




                                                Figure 22




1
    Source, as visited on March 12, 2021: https://www.jbhunt.com/jobs/office/job_search/
2
    Source, as visited on March 12, 2021: https://www.jbhunt.com/jobs/office/job_search/


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                                                Figure 33




                                                Figure 44



3
    Source, as visited on March 12, 2021: https://www.jbhunt.com/jobs/office/job_search/
4
    Source, as visited on March 12, 2021: https://www.jbhunt.com/jobs/office/job_search/


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7.      Upon information and belief, the registered agent for J.B. Hunt Transport, Inc. in Texas is

        Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company at 211 E. 7th

        Street, Suite 620, Austin, Texas 78701-3136.

8.      Venue is proper pursuant to 28 U.S.C. §§ 1391 and 1400(b).

9.      Venue is also proper in this judicial district pursuant to 28 U.S.C. §§ 1391(c)(3) because Defendant

        Mediterranean Shipping Company S.A. is not a resident of the United States and therefore may be

        sued in any judicial district.



                                                PATENTS-IN-SUIT

10.     Transcend Shipping Systems, LLC is the sole and exclusive owner, by assignment, of U.S. Patent

        Nos. 7,253,731 (“the ’731 Patent”); 7,482,920 (“the ’920 Patent”); 9,847,029 (“the ’029 Patent”);

        10,181,109 (“the ’109 Patent”); and 10,796,268 (“the ’268 Patent”) (hereinafter collectively referred

        to as “the Transcend Patents”).

11.     The Transcend Patents are valid, enforceable, and were duly issued in full compliance with Title 35

        of the United States Code.

12.     The Transcend Patents each include numerous claims defining distinct inventions.

13.     The priority date of each of the Transcend Patents is at least as early January 23, 2001. As of the

        priority date, the inventions as claimed were novel, non-obvious, unconventional, and non-routine.

14.     Plaintiff alleges infringement on the part of JBH of each of the Transcend Patents.

15.     The ’731 Patent relates generally to an apparatus, including a shipment conveyance device,

        associated with a shipment, which is a shipping a container, pallet, or tote, a memory device, located

        at the shipment conveyance device, in which information regarding the shipment is stored, a global

        positioning device, located at the shipment conveyance device, which determines a position or




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      location of the shipment conveyance device, a processing device which processes information

      regarding the shipment and/or shipment conveyance device in response to an occurrence of an event

      or in response to a request for information and generates a message containing information regarding

      the position or location of the shipment conveyance device and information regarding the occurrence

      of an event, a status of the shipment, a shipment temperature, or an impact or force on the shipment

      conveyance device, and a transmitter, located at the shipment conveyance device, which transmits

      the message to a communication device. See Abstract, ’731 Patent.

16.   The ’920 Patent relates generally to an apparatus, including a shipment conveyance device which is

      a shipping container, pallet, piece of luggage, or tote, a memory device located in, on, or at, the

      shipment conveyance device which stores information regarding the shipment conveyance device, a

      global positioning device located in, on, or at, the shipment conveyance device which determines a

      position or location of the shipment conveyance device, a processing device which processes

      information regarding the shipment conveyance device in response to an occurrence of an event or a

      request for information and which generates a message containing information regarding the position

      or location of the shipment conveyance device and information regarding the occurrence of an event,

      a status of a shipment or transportation involving the shipment conveyance device, a temperature, or

      an impact or force on the shipment conveyance device, and a transmitter located in, on, or at, the

      shipment conveyance device which transmits the message to a communication device. See Abstract,

      ’920 Patent.

17.   The ’029 Patent relates generally to an apparatus, including a shipment conveyance device which is

      a shipping container, pallet, or piece of luggage, a memory device located in, on, or at, the shipment

      conveyance device which stores information regarding the shipment conveyance device, a global

      positioning device which determines a position or location of the shipment conveyance device, a




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      processing device which processes information regarding the shipment conveyance device in

      response to an occurrence of an event or a request for information and which generates a message

      containing information regarding the position or location of the shipment conveyance device and

      information regarding the occurrence of an event, a status of a shipment or transportation involving

      the shipment conveyance device, a temperature, or an impact or force on the shipment conveyance

      device, and a transmitter located in, on, or at, the shipment conveyance device which transmits the

      message to a communication device. See Abstract, ’029 Patent.

18.   The ’109 Patent relates generally to an apparatus, including a shipment conveyance device, wherein

      the shipment conveyance device is a shipping container, pallet, or piece of luggage; a receiver; a

      global positioning device which is located in, on, or at, the shipment conveyance device and which

      determines a position or location of the shipment conveyance device; a processor which generates a

      message in response to an occurrence of an event or in response to a request for information

      regarding the shipment conveyance device, wherein the request for information is automatically

      received by the receiver, wherein the message contains information regarding a position or location

      of the shipment conveyance device; and a transmitter which is located in, on, or at, the shipment

      conveyance device and which transmits the message to a communication device associated with an

      owner of the shipment conveyance device or an individual authorized to receive the message. See

      Abstract, ’109 Patent.

19.   The ’268 Patent relates generally to an apparatus, including a shipment conveyance device which is

      a shipping container, a pallet, or a piece of luggage; a global positioning device, located in, on, or at,

      the shipment conveyance device, which determines a position or location of the shipment

      conveyance device; a processor which generates a message in response to an occurrence of an event

      or in response to a request for information regarding the shipment conveyance device which request




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      is automatically received by a receiver, and which message contains information regarding a

      shipment of the shipment conveyance device; and a transmitter, located in, on, or at, the shipment

      conveyance device, which transmits the message to a communication device associated with an

      owner of the shipment conveyance device or an individual authorized to receive the message. See

      Abstract, ’268 Patent.

20.   The claims of the Transcend Patents are not drawn to laws of nature, natural phenomena, or abstract

      ideas. Although the systems and methods claimed in the Transcend Patents are ubiquitous now (and,

      as a result, are widely infringed), the specific combinations of elements, as recited in the claims, was

      not conventional or routine at the time of the invention.

21.   The ’731 Patent was examined by Primary United States Patent Examiner Van T. Trieu. During the

      examination of the ’731 Patent, the United States Patent Examiner searched for prior art in the

      following US Classifications: 340/539.13, 340/568.1 and 340/572.1.

22.   After conducting searches for prior art during the examination of the ’731 Patent, the United States

      Patent Examiner identified and cited the following as the most relevant prior art references found

      during the searches: (i) US 3,669,288, 06/1972, Young; (ii) US 5,317,323, 05/1994, Kennedy et al.;

      (iii) “Envirokare announces letter of intent with Electroship . . .” 2 page Envirokare press release

      dated Jul. 25, 2000”; (iv) US 5,825,283, 10/1998, Camhi; (v) US 6,044,990, 04/2000, Palmeri; (vi)

      US 6,464,142, 10/2002, Denenberg et al.; (vii) US 2002/0017996, 02/2002, Niemiec; (viii) FR

      2816434, 05/2002, Touzet; (ix) US 5,877,707, 03/1999, Kowalick; (x) US 5,917,405, 06/1999, Joao;

      (xi) US 5,917,434, 06/1999, Murphy; (xii) US 6,046,678, 04/2000, Wilk; (xiii) US 6,148,291,

      11/2000, Radican; (xiv) US 6,281,797, 08/2001, Forster et al.; (xv) US 6,292,828, 09/2001,

      Williams; (xvi) US 6,332,098, 12/2001, Ross et al.; (xviii) US 6,474,927, 11/2002, McAdams et al.;

      (xix) US 6,542,076, 04/2003, Joao; (xx) US 6,542,077, 04/2003, Joao; (xxi) US 6,549,130, 04/2003,




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      Joao; (xxii) US 6,587,046, 07/2003, Joao; (xxiii) US 6,610,954, 08/2003, Takizawa; (xxiv) US

      6,844,473, 01/2005, Quinlin et al.; (xxv) US 2002/0016655, 02/2002, Joao; (xxvi) US

      2002/0049622, 04/2002, Lettich et al.; (xxvi) US 2002/0049622, 04/2002, Lettich et al.; (xxvii) US

      2002/0116318, 08/2002, Thomas et al.; (xxviii) US 2002/0121969, 09/2002, Joao; (xxix) US

      2002/0198774, 12/2002, Weirich; (xxx) US 2003/0009361, 01/2003, Hancock et al.; (xxxi) US

      2003/0016130, 01/2003, Joao; (xxxii) US 2003/0067541, 04/2003, Joao; (xxxiii) US 2003/0071899,

      04/2003, Joao; (xxxiv) US 2003/0084125, 05/2003, Nagda et al.; (xxxv) US 2003/0193404, 10/2003,

      Joao; (xxxvi) US 2003/0206102, 11/2003, Joao; (xxxvii) US 2004/0160319, 08/2004, Joao; (xxxviii)

      US 2004/0230601, 11/2004, Joao; (xxxix) US 2005/0171835, 08/2005, Mook et al.; (xxxx) US

      2005/0248444, 11/2005, Joao; (xxxxi) “Technology Executive . . . joins Envirokare as president and

      Director”, 2 page Envirokare press release dated Sep. 5, 2000; and (xxxxii) “Envirokare Tech Inc.

      announces additions to advisory board”, 3 page Envirokare press release dated Sep. 7, 2000.

23.   After giving full proper credit to the prior art and having conducted a thorough search for all relevant

      art and having fully considered the most relevant art known at the time, the United States Patent

      Examiner allowed all of the claims of the ’731 Patent to issue. In so doing, it is presumed that

      Examiner Trieu used his or her knowledge of the art when examining the claims. K/S Himpp v.

      Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that Examiner

      Trieu has experience in the field of the invention, and that the Examiner properly acted in

      accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002).

24.   The ’731 Patent is a pioneering patent, and has been cited as relevant prior art in over 130

      subsequent United States Patent Applications, including Applications assigned to technology and

      business leaders such as Google, Inc., AT&T, FedEx, Qualcomm, Inc., Fujitsu, Ltd., United Parcel

      Services of America, American Airlines and NEC Corp.




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25.   The ’920 Patent was examined by Primary United States Patent Examiner Van T. Trieu. During the

      examination of the ’920 Patent, the United States Patent Examiner searched for prior art in the

      following US Classifications: 340/539.11, 340/568.1 and 340/572.1.

26.   After conducting searches for prior art during the examination of the ’731 Patent, the United States

      Patent Examiner identified and cited the following as the most relevant prior art references found

      during the searches: (i) US 5,825,283, 10/1998, Camhi; (ii) US 6,046,678, 04/2000, Wilk; (iii) US

      6,148,291, 11/2000, Radican; (iv) US 6,323,782, 11/2001, Stephens et al.; (v) US 6,429,810,

      08/2002, De Roche; (vi) US 6,610,954, 08/2003, Takizawa; (vii) US 6,745,027, 06/2004, Twitchell,

      Jr.; and (viii) US 6,882,269, 04/2005, Moreno.

27.   After giving full proper credit to the prior art and having conducted a thorough search for all relevant

      art and having fully considered the most relevant art known at the time, the United States Patent

      Examiner allowed all of the claims of the ’920 Patent to issue. In so doing, it is presumed that

      Examiner Trieu used his or her knowledge of the art when examining the claims. K/S Himpp v.

      Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that Examiner

      Trieu has experience in the field of the invention, and that the Examiner properly acted in

      accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002).

28.   The ’920 Patent is a pioneering patent, and has been cited as relevant prior art in over 130

      subsequent United States Patent Applications, including Applications assigned to technology and

      business leaders such as Google, Inc., AT&T, FedEx, Qualcomm, Inc., Fujitsu, Ltd., United Parcel

      Services of America, American Airlines and NEC Corp.

29.   The ’029 Patent was examined by Primary United States Patent Examiner Van T. Trieu. During the

      examination of the ’029 Patent, the United States Patent Examiner searched for prior art in the




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      following US Classifications: G08G 1/20, G01S 13/84, G06Q 10/08, G06Q 10/087, G08B 1/08,

      G08G 1/202, G08G 1/205, H04W 4/02, and H04W 4/021.

30.   After conducting searches for prior art during the examination of the ’029 Patent, the United States

      Patent Examiner identified and cited the following as the most relevant prior art references found

      during the searches: (i) US 5,640,002, 06/1997, Ruppert et al.; (ii) US 5,825,283, 10/1998, Camhi;

      (iii)   US 5,959,568, 09/1999, Woolley; (iv) US 6,046,678, 04/2000, Wilk; (v) US 6,148,291,

      11/2000, Radican; (vi) US 6,281,797, 08/2001, Forster et al.; (vii) US 6,304,856, 10/2001, Soga;

      (viii) US 6,356,802, 03/2002, Takehara; (ix) US 6,411,891, 06/2002, Jones; (x) US 6,429,810,

      08/2002, De Roche; (xi) US 6,610,954, 08/2003, Takizawa; (xii) US 6,745,027, 06/2004, Twitchell,

      Jr.; (xiii) US 6,748,318, 06/2004, Jones; (xix) US 6,859,722, 02/2005, Jones; (xx) US 6,882,269,

      04/2005, Moreno; (xxi) US 6,904,359, 06/2005, Jones; (xxii) US 7,035,856, 04/2006, Morimoto;

      (xxiii) US 7,085,775, 08/2006, Short et al.; (xxiv) US 7,212,829, 05/2007, Lau et al.; (xxv) US

      2002/0046173, 04/2002, Kelly; (xxvi) US 2002/0061758, 05/2002, Zarlengo et al.; (xxvii) US

      2002/0120475, 08/2002, Morimoto; and (xxviii) US 2002/0132855, 07/2003, Swan.

31.   After giving full proper credit to the prior art and having conducted a thorough search for all relevant

      art and having fully considered the most relevant art known at the time, the United States Patent

      Examiner allowed all of the claims of the ’029 Patent to issue. In so doing, it is presumed that

      Examiner Trieu used his or her knowledge of the art when examining the claims. K/S Himpp v.

      Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that Examiner

      Trieu has experience in the field of the invention, and that the Examiner properly acted in

      accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002).

32.   The ’029 Patent is a pioneering patent, and has been cited as relevant prior art in over 130

      subsequent United States Patent Applications, including Applications assigned to technology and




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      business leaders such as Google, Inc., AT&T, FedEx, Qualcomm, Inc., Fujitsu, Ltd., United Parcel

      Services of America, American Airlines and NEC Corp.

33.   The ’109 Patent was examined by Primary United States Patent Examiner Van T. Trieu. During the

      examination of the ’109 Patent, the United States Patent Examiner searched for prior art in the

      following US Classifications: G06Q 10/08, G06Q 10/083, G06Q 10/087, H04W 4/02, and H04W

      4/021.

34.   After conducting searches for prior art during the examination of the ’109 Patent, the United States

      Patent Examiner identified and cited the following as the most relevant prior art references found

      during the searches: (i) US 5,959,568, 09/1999, Woolley; (ii) US 7,035,856, 04/2006, Morimoto;

      (iii) US 7,212,829, 05/2007, Lau et al.; (iv) US 7,253,731, 08/2007, Joao; (v) US 9,847,029,

      12/2017, Joao; and (vi) US 2002/0120475, 08/2002, Morimoto.

35.   After giving full proper credit to the prior art and having conducted a thorough search for all relevant

      art and having fully considered the most relevant art known at the time, the United States Patent

      Examiner allowed all of the claims of the ’109 Patent to issue. In so doing, it is presumed that

      Examiner Trieu used his or her knowledge of the art when examining the claims. K/S Himpp v.

      Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that Examiner

      Trieu has experience in the field of the invention, and that the Examiner properly acted in

      accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002).

36.   The ’109 Patent is a pioneering patent, and has been cited as relevant prior art in over 130

      subsequent United States Patent Applications, including Applications assigned to technology and

      business leaders such as Google, Inc., AT&T, FedEx, Qualcomm, Inc., Fujitsu, Ltd., United Parcel

      Services of America, American Airlines and NEC Corp.




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37.   The ’268 Patent was examined by Primary United States Patent Examiner Van T. Trieu. During the

      examination of the ’268 Patent, the United States Patent Examiner searched for prior art in the

      following US Classifications: G06Q 10/08 and G06Q 10/083.

38.   After conducting searches for prior art during the examination of the ’268 Patent, the United States

      Patent Examiner identified and cited the following as the most relevant prior art references found

      during the searches: (i) US 5,959,568, 09/1999, Woolley; (ii) US 6,148,291, 1/2000, Radican; (iii)

      US 6,492,904, 12/2002, Richards; (iv) US 7,035,856, 04/2006, Morimoto; (v) US 10,181,109,

      01/2019, Joao; and (vi) US 2002/0111819, 08/2002, Li.

39.   After giving full proper credit to the prior art and having conducted a thorough search for all relevant

      art and having fully considered the most relevant art known at the time, the United States Patent

      Examiner allowed all of the claims of the ’268 Patent to issue. In so doing, it is presumed that

      Examiner Trieu used his or her knowledge of the art when examining the claims. K/S Himpp v.

      Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that Examiner

      Trieu has experience in the field of the invention, and that the Examiner properly acted in

      accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002).

40.   The ’268 Patent is a pioneering patent, and has been cited as relevant prior art in over 130

      subsequent United States Patent Applications, including Applications assigned to technology and

      business leaders such as Google, Inc., AT&T, FedEx, Qualcomm, Inc., Fujitsu, Ltd., United Parcel

      Services of America, American Airlines and NEC Corp.

41.   The claims of the Transcend Patents were all properly issued, and are valid and enforceable for the

      respective terms of their statutory life through expiration, and are enforceable for purposes of

      seeking damages for past infringement even post-expiration. See, e.g., Genetics Institute, LLC v.

      Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011) (“[A]n expired patent




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      is not viewed as having ‘never existed.’ Much to the contrary, a patent does have value beyond its

      expiration date. For example, an expired patent may form the basis of an action for past damages

      subject to the six-year limitation under 35 U.S.C. § 286”) (internal citations omitted).

42.   The expiration dates of the Transcend Patents are at least the following: the ’731 Patent expired on

      August 7, 2019 due to nonpayment of maintenance fees; the ’920 Patent expires no earlier than April

      27, 2022; the ’029 Patent expires no earlier than November 1, 2023; the ’109 Patent expires no

      earlier than January 22, 2022; and the ’268 Patent expires no earlier than January 22, 2022.



                                     ACCUSED INSTRUMENTALITIES

43.   Upon information and belief, JBH sells, advertises, offers for sale, uses, or otherwise provides

      containers (“shipment conveyance device”) for shipping and/or delivering goods, products, items,

      and/or other objects which are equipped with Orbcomm devices (“Accused Instrumentalities”) that

      infringe the Transcend Patents.

                                                    COUNT I

                                 (Infringement of U.S. Patent No. 10,181,109)


44.   Plaintiff incorporates the above paragraphs by reference.

45.   JBH has been on actual notice of the ’109 Patent at least as early as the date it received service of

      this Original Complaint.

46.   On information and belief, JBH owns and controls the operation of the Accused Instrumentalities

      and generates substantial financial revenues therefrom.

47.   Upon information and belief, JBH has directly infringed and continues to directly infringe at least

      claims 1, 8, 10, and 14 of the ’109 Patent by making, using, importing, selling, and/or, offering for

      sale the Accused Instrumentalities.



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48.     JBH, with knowledge of the ’109 Patent, also infringes at least claims 1, 8, 10, and 14 of the ’109

        Patent by inducing others to infringe the ’109 Patent. In particular, JBH intends to induce its

        customers to infringe the ’109 Patent by encouraging its customers to use the Accused

        Instrumentalities in a manner that results in infringement.

49.     JBH also induces others, including its customers, to infringe at least claims 1, 8, 10, and 14 of the

        ’109 Patent by providing technical support for the use of the Accused Instrumentalities.

50.     Upon information and belief, JBH makes, uses, sells and offers for sale an apparatus, comprising, a

        shipment conveyance device, wherein the shipment conveyance device is a shipping container, a

        pallet, or a piece of luggage.     For example, JBH provides containers (“shipment conveyance

        device”) for shipping and/or delivering goods, products, items, and/or other objects which are

        equipped with Orbcomm devices.         See Figures 5- below, which are screenshots of webpages

        associated with JBH.




                                                     Figure 55




  5
      Source, as visited on May 12, 2021: https://www.jbhunt.com/blog/2017/02/28/fleet-tracking/


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                                                   Figure 66




                                                   Figure 77

51.     Upon information and belief, JBH provides a global positioning device, wherein the global

        positioning device is located in, on, or at, the shipment conveyance device, and further wherein the

        global positioning device determines a position or location of the shipment conveyance device. For

        example, JBH’s shipping containers are fitted with Orbcomm devices which comprise a global

        positioning device to determine a position/location of the shipping container. Further, JBH provides

  6
      Source, as visited on May 12, 2021: https://www.jbhunt.com/blog/2017/02/28/fleet-tracking/
  7
      Source, as visited on May 12, 2021: https://www.jbhunt.com/blog/2017/02/28/fleet-tracking/


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      a mobile application and a desktop application (“Shipper 360”) which is used by customers to track

      and trace their cargo. See Figure 6 above. See also Figure 8 below, which is a screenshot of from

      Apple Inc.’s App Store showing the Shipper 360 application provided by JBH.




                                                 Figure 88

52.   Upon information and belief, JBH provides a processor, wherein the processor generates a message

      in response to an occurrence of the event or in response to a request for information regarding the

      shipment conveyance device, wherein the request for information is automatically received by the

      receiver, wherein the message contains information regarding a position or location of the shipment

      conveyance device. For example, JBH’s shipping containers are fitted with the Orbcomm devices

      (“processing device”) which measure information related to shipping container including one or

      more of, but not limited to, the location of the shipping container, the temperature in the shipping

  8
   Source, as visited on May 12, 2021: https://apps.apple.com/us/app/shipper-360-by-j-b-
  hunt/id1494163846#?platform=iphone

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   container, and the presence of cargo in the shipping container and therefore, JBH provides a

   processor which processes information regarding the shipment conveyance device. As a further

   example, JBH’s shipping containers equipped with Orbcomm devices detect an event including one

   or more of, but not limited to, deviation in temperature and deviation in planned route and, in

   response to the detected event, send alerts (“message”) containing information about the event to the

   customers of JBH. On information and belief, these alerts are viewed via a desktop application

   and/or a mobile application provided by JBH. Therefore, on information and belief, JBH provides a

   processor which generates a message in response to occurrence of an event and the message contains

   information regarding the position and location of the shipment conveyance device. As a further

   example, JBH’s shipping containers, fitted with Orbcomm devices, measure information using

   sensors including one or more of, but not limited to, a GPS sensor, a temperature sensor and a sensor

   that detects the presence of cargo, and transmit information in the form of alerts to JBH’s customers

   after a request for information is received by JBH automatically. Therefore, on information and

   belief, JBH provides a receiver which receives a request for information automatically. See Figures 6

   and 8 above. See also Figures 9 and 10 below, which are screenshots of webpages associated with

   JBH.




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                                                    Figure 99




                                                   Figure 1010

53.     Upon information and belief, JBH provides a transmitter, wherein the transmitter is located in, on, or

        at, the shipment conveyance device, and further wherein the transmitter transmits the message to a

        communication device associated with an owner of the shipment conveyance device, a receiver of

        the shipment conveyance device, or an individual authorized to receive the message. For example,

        JBH’s shipping containers (“shipment conveyance device”), fitted with the Orbcomm devices, send

        information (“message”) including one or more of, but not limited to, location, presence of cargo and

        temperature, to JBH’s customers. As a result, the customers monitor their shipments present in the

        shipping containers using a computer or mobile device. Therefore, JBH provides a transmitter for

        transmitting a message to a communication device associated with an owner or an individual

        authorized to receive the message. See Figures 6 and 8-10 above.

54.     Upon information and belief, JBH provides a sensor, wherein the sensor monitors or measures a

        temperature during a shipment or a transportation of the shipment conveyance device, a shock

        exerted on the shipment conveyance device, an impact exerted on the shipment conveyance device,

        or a force exerted on the shipment conveyance device. For example, JBH’s shipping containers


  9
   Source, as visited on May 12, 2021: https://www.jbhunt.com/shipment-solutions/shipment-
  services/refrigerated
  10
       Source, as visited on May 12, 2021: https://www.jbhunt.com/shipment-solutions/self-service


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      equipped with Orbcomm devices include at least one or more of, but not limited to, a temperature

      sensor for measuring at least a temperature experienced by the shipping container during

      transportation. Therefore, JBH’s shipping containers fitted with Orbcomm devices comprise sensors

      that monitor and measure at least one or more of, but not limited to, temperature, shock, impact and

      force experienced by the shipment conveyance device. See Figures 6 and 8-10 above.

55.   Upon information and belief, JBH also provides a message which contains information regarding a

      temperature during the shipment or the transportation, a change in a shipment or transportation

      temperature, or an impact or force exerted on the shipment conveyance device. For example, JBH’s

      shipping containers, fitted with Orbcomm devices, monitors at least a temperature in the shipping

      container and transmit this temperature information (“message”) to JBH’s customers. As a further

      example, JBH’s shipping containers, fitted with Orbcomm devices, detects changes in the

      temperature in the shipping container and transmit an alert (“message”) to JBH’s customers if the

      change exceeds a predetermined threshold. Therefore, JBH provides a message which contains

      information regarding temperature of shipment. See Figures 9 and 10 above. See also Figure 11

      below, which is a screenshot of a webpage associated with Orbcomm.




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                                                 Figure 1111


56.    Upon information and belief, JBH further provides an apparatus wherein the event is a detection of a

       deviation from a pre-determined shipment or transportation route associated with a shipment or a

       transportation of or involving the shipment conveyance device.       For example, JBH’s shipping

       containers equipped with Orbcomm devices send GPS location information and associated alerts.

       Therefore, on information and belief, JBH’s shipping containers equipped with Orbcomm devices

       detect events related to deviation from a pre-determined transportation route. See Figures 6 and 8-10

       above.

57.    Upon information and belief, JBH further provides an apparatus wherein the shipping container, the

       pallet, or the piece of luggage, is a refrigerated container, a heated container, or an insulated



  11
    Source, as visited on May 12, 2021: https://www.orbcomm.com/en/industries/transportation-and-
  distribution/cold-chain-monitoring


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      container. For example, some of JBH’s shipping containers are refrigerated containers. See Figure 9

      above.

58.   To the extent JBH continues, and has continued, its infringing activities noted above in an infringing

      manner post-notice of the ’109 Patent, such infringement is necessarily willful and deliberate.

59.   On information and belief, JBH has a policy or practice of not reviewing the patents of others.

      Further on information and belief, JBH instructs its employees to not review the patents of others for

      clearance or to assess infringement thereof. As such, JBH has been willfully blind to the patent

      rights of Plaintiff.

60.   Each of JBH’s aforesaid activities has been without authority and/or license from Plaintiff.

                                                    COUNT II

                                  (Infringement of U.S. Patent No. 9,847,029)

61.   Plaintiff incorporates the above paragraphs by reference.

62.   JBH has been on actual notice of the ’029 Patent at least as early as the date it received service of

      this Original Complaint.

63.   On information and belief, JBH owns and controls the operation of the Accused Instrumentalities

      and generates substantial financial revenues therefrom.

64.   Upon information and belief, JBH has directly infringed and continues to directly infringe at least

      Claims 2, 12, 15, and 19 of the ’029 Patent by making, using, importing, selling, and/or, offering for

      sale the Accused Instrumentalities.

65.   JBH, with knowledge of the ’029 Patent, also infringes at least Claims 2, 12, 15, and 19 of the ’029

      Patent by inducing others to infringe the ’029 Patent. In particular, JBH intends to induce its

      customers to infringe the ’029 Patent by encouraging its customers to use the Accused

      Instrumentalities in a manner that results in infringement.




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66.   JBH also induces others, including its customers, to infringe at least Claims 2, 12, 15, and 19 of the

      ’029 Patent by providing technical support for the use of the Accused Instrumentalities.

67.   As described above (see ¶ 50), and upon information and belief, JBH makes, uses, sells and offers

      for sale an apparatus, comprising, a shipment conveyance device, wherein the shipment conveyance

      device is a smart container, a pallet, or a piece of luggage. For example, JBH provides containers

      (“shipment conveyance device”) for shipping and/or delivering goods, products, items, and/or other

      objects which are equipped with Orbcomm devices.

68.   As described above (see ¶ 51), and upon information and belief, JBH provides a global positioning

      device, wherein the global positioning device is located in, on, or at, the shipment conveyance

      device, and further wherein the global positioning device determines a position or location of the

      shipment conveyance device. For example, JBH’s shipping containers are fitted with the Orbcomm

      devices which comprise a global positioning device to determine a position/location of the shipping

      container. Further, JBH provides a mobile application and a desktop application (“Shipper 360”)

      which is used by customers to track and trace their cargo.

69.   As described above (see ¶ 52), and upon information and belief, JBH also provides a processor,

      wherein the processor processes information regarding the shipment conveyance device in response

      to an occurrence of an event or in response to a request for information regarding the shipment

      conveyance device, and further wherein the processor generates a message in response to the

      occurrence of the event or in response to the request for information regarding the shipment

      conveyance device.      For example, JBH’s containers are fitted with the Orbcomm devices

      (“processing device”) which measure information related to the shipping container including one or

      more of, but not limited to, the location of the shipping container, the temperature in the shipping

      container, and the presence of cargo in the shipping container and therefore, JBH provides a




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      processor which processes information regarding the shipment conveyance device. Further, JBH’s

      containers, equipped with Orbcomm devices, detect an event including one or more of, but not

      limited to, deviation in temperature and deviation in planned route and, in response to the detected

      event, send alerts (“message”) containing information about the event to the customers of JBH. On

      information and belief, these alerts are viewed via a desktop application and/or a mobile application

      provided by JBH. Therefore, on information and belief, JBH provides a processor which generates a

      message in response to occurrence of an event and the message contains information regarding the

      position and location of the shipment conveyance device.

70.   As described above (see ¶ 53), and upon information and belief, JBH provides a transmitter, wherein

      the transmitter is located in, on, or at, the shipment conveyance device, and further wherein the

      transmitter transmits the message to a communication device associated with an owner of the

      shipment conveyance device, a receiver of the shipment conveyance device, or an individual

      authorized to receive the message. For example, JBH’s shipping containers (“shipment conveyance

      device”), fitted with the Orbcomm devices, send information (“message”) including one or more of,

      but not limited to, location, presence of cargo and temperature, to JBH’s customers. As a result, the

      customers monitor their shipments present in the shipping containers using a computer or mobile

      device. Therefore, JBH provides a transmitter for transmitting a message to a communication device

      associated with an owner or an individual authorized to receive the message.

71.   As described above (see ¶ 54), and upon information and belief, Defendant provides a sensor,

      wherein the sensor monitors or measures a temperature during a shipment or a transportation of the

      shipment conveyance device, a shock exerted on the shipment conveyance device, an impact exerted

      on the shipment conveyance device, or a force exerted on the shipment conveyance device. For

      example, JBH’s shipping containers equipped with Orbcomm devices include at least one or more




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      of, but not limited to, a temperature sensor for measuring at least a temperature experienced by the

      shipping container during transportation. Therefore, JBH’s shipping containers fitted with Orbcomm

      devices comprise sensors that monitor and measure at least one or more of, but not limited to,

      temperature, shock, impact and force experienced by the shipment conveyance device.

72.   As described above (see ¶ 55), and upon information and belief, JBH also provides a message which

      contains information regarding a temperature during the shipment or the transportation, a change in a

      shipment or transportation temperature, or an impact or force exerted on the shipment conveyance

      device. For example, JBH’s shipping containers, fitted with Orbcomm devices, monitors at least a

      temperature in the shipping container and transmit this temperature information (“message”) to

      JBH’s customers. As a further example, JBH’s shipping containers, fitted with Orbcomm devices,

      detects changes in the temperature in the shipping container and transmit an alert (“message”) to

      JBH’s customers if the change exceeds a predetermined threshold. Therefore, JBH provides a

      message which contains information regarding temperature of shipment.

73.   As described above (see ¶ 56), and upon information and belief, JBH further provides an apparatus

      wherein the event is a detection of a deviation from a pre-determined shipment or transportation

      route associated with a shipment or a transportation of or involving the shipment conveyance device.

      For example, JBH’s shipping containers equipped with Orbcomm devices send GPS location

      information and associated alerts. Therefore, on information and belief, JBH’s shipping containers

      equipped with Orbcomm devices detect events related to deviation from a pre-determined

      transportation route.

74.   As described above (see ¶ 57), and upon information and belief, JBH further provides an apparatus

      wherein the shipping container, the pallet, or the piece of luggage, is a refrigerated container, a




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      heated container, or an insulated container. For example, some of JBH’s shipping containers are

      refrigerated containers.

75.   To the extent JBH continues, and has continued, its infringing activities noted above in an infringing

      manner post-notice of the ’029 Patent, such infringement is necessarily willful and deliberate.

76.   On information and belief, JBH has a policy or practice of not reviewing the patents of others.

      Further on information and belief, JBH instructs its employees to not review the patents of others for

      clearance or to assess infringement thereof. As such, JBH has been willfully blind to the patent

      rights of Plaintiff.

77.   Each of JBH’s aforesaid activities has been without authority and/or license from Plaintiff.

                                                   COUNT III

                                  (Infringement of U.S. Patent No. 7,482,920)

78.   Plaintiff incorporates the above paragraphs by reference.

79.   JBH has been on actual notice of the ’920 Patent at least as early as the date it received service of

      this Original Complaint.

80.   On information and belief, JBH owns and controls the operation of the Accused Instrumentalities

      and generates substantial financial revenues therefrom.

81.   Upon information and belief, JBH has directly infringed and continue to directly infringe at least

      Claims 1, 5, 9, 11, and 16 of the ’920 Patent by making, using, importing, selling, and/or, offering

      for sale the Accused Instrumentalities.

82.   JBH, with knowledge of the ’920 Patent, also infringes at least Claims 1, 5, 9, 11, and 16 of the ’920

      Patent by inducing others to infringe the ’920 Patent. In particular, JBH intends to induce its

      customers to infringe the ’920 Patent by encouraging its customers to use the Accused

      Instrumentalities in a manner that results in infringement.




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83.   JBH also induces others, including its customers, to infringe at least Claims 1, 5, 9, 11, and 16 of the

      ’920 Patent by providing technical support for the use of the Accused Instrumentalities.

84.   As described above (see ¶ 50), and upon information and belief, JBH makes, uses, sells and offers

      for sale an apparatus, comprising, a shipment conveyance device, wherein the shipment conveyance

      device is a smart container, a pallet, or a piece of luggage. For example, JBH provides containers

      (“shipment conveyance device”) for shipping and/or delivering goods, products, items, and/or other

      objects which are equipped with Orbcomm devices.

85.   Upon information and belief, JBH provides a memory device, wherein the memory device is located

      in, on, or at, the shipment conveyance device, wherein the memory device stores information

      regarding a description of a good, product, or item, being shipped or transported via or which is

      contained in or on the shipment conveyance device, and origination information, sender information,

      shipper information, destination information, receiver information, handling instruction information,

      delivery instruction information, invoice information, packing slip information, delivery time

      information, or payment instruction information, regarding the shipment conveyance device. For

      example, JBH’s shipping containers are fitted with the Orbcomm devices which comprise sensors

      including one or more of, but not limited to, a GPS sensor, a temperature sensor, and a sensor that

      determines the presence of cargo in the shipping container (“shipment conveyance device”). As a

      further example, and on information and belief, JBH’s shipping containers equipped with Orbcomm

      devices store at least an identification of JBH (since it communicates the position of the container

      and measurements from the sensors), and therefore JBH provides a memory device which stores at

      least one or more of origination information, sender information, and shipper information regarding

      the shipment conveyance device. As a further example, JBH’s shipping containers equipped with

      Orbcomm devices store at least an identification of JBH’s container (since it communicates the




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      position of the container and measurements from the sensors), and therefore JBH provides a memory

      device which stores at least one or more of origination information, sender information, and shipper

      information regarding the shipment conveyance device. As a further example, JBH’s shipping

      containers equipped with Orbcomm devices store at least an identification of JBH’s customer (since

      it communicates the position of the container and measurements from the sensors to JBH (who may

      have multiple customers availing JBH’s services at any given time) and JBH must correlate the

      information to the particular customer in order to provide updates to the customer), and therefore

      JBH provides a memory device which stores at least one or more of origination information, sender

      information, shipper information, destination information and receiver information regarding the

      shipment conveyance device. See Figures 6 and 8-10 above.

86.   As described above (see ¶ 51), and upon information and belief, JBH provides a global positioning

      device, wherein the global positioning device is located in, on, or at, the shipment conveyance

      device, and further wherein the global positioning device determines a position or location of the

      shipment conveyance device. For example, JBH’s shipping containers are fitted with Orbcomm

      devices which comprise a global positioning device to determine a position/location of the shipping

      container. Further, JBH provides a mobile application and a desktop application (“Shipper 360”)

      which is used by customers to track and trace their cargo.

87.   As described above (see ¶ 52), and upon information and belief, JBH also provides a processing

      device, wherein the processing device processes information regarding the shipment conveyance

      device in response to an occurrence of an event or in response to a request for information regarding

      the shipment conveyance device, wherein the processing device generates a message containing

      information regarding the position or location of the shipment conveyance device and information

      regarding the occurrence of an event, a status of a shipment or a transportation of or involving the




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      shipment conveyance device, a shipment or transportation temperature, or an impact or force on the

      shipment conveyance device. For example, JBH’s shipping containers are fitted with the Orbcomm

      devices (“processing device”) which measure information related to shipping container including

      one or more of, but not limited to, the location of the shipping container, the temperature in the

      shipping container, and the presence of cargo in the shipping container and therefore, JBH provides

      a processor which processes information regarding the shipment conveyance device. As a further

      example, JBH’s shipping containers equipped with Orbcomm devices detect an event including one

      or more of, but not limited to, deviation in temperature and deviation in planned route and, in

      response to the detected event, send alerts (“message”) containing information about the event to the

      customers of JBH. On information and belief, these alerts are viewed via a computer application

      and/or a mobile application provided by JBH. Therefore, on information and belief, JBH provides a

      processor which generates a message in response to occurrence of an event and the message contains

      information regarding the position and location of the shipment conveyance device. As a further

      example, JBH’s shipping containers, fitted with Orbcomm devices, measure information using

      sensors including one or more of, but not limited to, a GPS sensor, a temperature sensor and a sensor

      that detects the presence of cargo, and transmit information in the form of alerts to JBH’s customers

      after a request for information is received by JBH automatically. Therefore, on information and

      belief, JBH provides a receiver which receives a request for information automatically.

88.   As described above (see ¶ 53), and upon information and belief, JBH provides a transmitter, wherein

      the transmitter is located in, on, or at, the shipment conveyance device, wherein the transmitter

      transmits the message to a communication device associated with an individual or entity, a sender of

      the shipment conveyance device, a receiver of the shipment conveyance device, a carrier of the

      shipment conveyance device, or an individual or entity authorized to receive information regarding




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      the shipment conveyance device or information regarding a shipment or a transportation of or

      involving the shipment conveyance device. For example, JBH’s shipping containers (“shipment

      conveyance device”), fitted with the Orbcomm devices, send information (“message”) including one

      or more of, but not limited to, location, presence of cargo and temperature, to JBH’s customers. As a

      result, the customers monitor their shipments present in the shipping containers using a computer or

      mobile device. Therefore, JBH provides a transmitter for transmitting a message to a communication

      device associated with at least one of an individual, entity, sender of shipment conveyance device,

      receiver of shipment conveyance device and carrier of shipment conveyance device.

89.   As described above (see ¶ 54), and upon information and belief, JBH provides a sensor, wherein the

      sensor monitors or measures a temperature during a shipment or the transportation of the shipment

      conveyance device, a shock exerted on the shipment conveyance device, an impact exerted on the

      shipment conveyance device, or a force exerted on the shipment conveyance device. For example,

      JBH’s shipping containers equipped with Orbcomm devices include at least one or more of, but not

      limited to, a temperature sensor for measuring at least a temperature experienced by the shipping

      container during transportation. Therefore, JBH’s shipping containers fitted with Orbcomm devices

      comprise sensors that monitor and measure at least one or more of, but not limited to, temperature,

      shock, impact and force experienced by the shipment conveyance device.

90.   As described above (see ¶ 55), and upon information and belief, JBH also provides a message which

      contains information regarding a temperature during the shipment or the transportation, a change in a

      shipment or transportation temperature, or an impact or force exerted on the shipment conveyance

      device. For example, JBH’s shipping containers, fitted with Orbcomm devices, monitors at least a

      temperature in the shipping container and transmit this temperature information (“message”) to

      JBH’s customers. As a further example, JBH’s shipping containers, fitted with Orbcomm devices,




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      detects changes in the temperature in the shipping container and transmit an alert (“message”) to

      JBH’s customers if the change exceeds a predetermined threshold. Therefore, JBH provides a

      message which contains information regarding temperature of shipment.

91.   As described above (see ¶ 56), and upon information and belief, JBH further provides an apparatus

      wherein the event is a detection of a deviation from a pre-determined shipment or transportation

      route associated with the shipment or a transportation of or involving the shipment conveyance

      device.   For example, JBH’s shipping containers equipped with Orbcomm devices send GPS

      location information and associated alerts. Therefore, on information and belief, JBH’s shipping

      containers equipped with Orbcomm devices detect events related to deviation from a pre-determined

      transportation route.

92.   Upon information and belief, JBH further provides an apparatus wherein the event is a detection of a

      shipment or transportation temperature which deviates from a shipment or transportation

      temperature requirement. For example, JBH’s shipping containers equipped with Orbcomm devices

      transmit alerts to JBH’s customers when the temperature in the container is detected beyond a

      threshold, and therefore, detects events including, but not limited to, deviation in shipment

      temperature. See Figures 9-11 above.

93.   As described above (see ¶ 57), and upon information and belief, JBH further provides an apparatus

      wherein the shipping container, the pallet, or the piece of luggage, is a refrigerated container, a

      heated container, or an insulated container. For example, some of JBH’s shipping containers are

      refrigerated containers.

94.   To the extent JBH continues, and has continued, its infringing activities noted above in an infringing

      manner post-notice of the ’920 Patent, such infringement is necessarily willful and deliberate.




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95.   On information and belief, JBH has a policy or practice of not reviewing the patents of others.

      Further on information and belief, JBH instructs its employees to not review the patents of others for

      clearance or to assess infringement thereof. As such, JBH has been willfully blind to the patent

      rights of Plaintiff.

96.   Each of JBH’s aforesaid activities has been without authority and/or license from Plaintiff.

                                                   COUNT IV

                                 (Infringement of U.S. Patent No. 10,796,268)

97.   Plaintiff incorporates the above paragraphs by reference.

98.   JBH has been on actual notice of the ’268 Patent at least as early as the date it received service of

      this Original Complaint.

99.   On information and belief, JBH owns and controls the operation of the Accused Instrumentalities

      and generates substantial financial revenues therefrom.

100. Upon information and belief, JBH has directly infringed and continue to directly infringe at least

      Claims 1, 8 , 10 and 12 of the ’268 Patent by making, using, importing, selling, and/or, offering for

      sale the Accused Instrumentalities.

101. JBH, with knowledge of the ’268 Patent, also infringes at least Claims 1, 8 , 10 and 12 of the ’268

      Patent by inducing others to infringe the ’268 Patent. In particular, JBH intends to induce its

      customers to infringe the ’268 Patent by encouraging its customers to use the Accused

      Instrumentalities in a manner that results in infringement.

102. JBH also induces others, including its customers, to infringe at least Claims 1, 8 , 10 and 12 of the

      ’268 Patent by providing technical support for the use of the Accused Instrumentalities.

103. As described above (see ¶ 50), and upon information and belief, JBH makes, uses, sells and offers

      for sale an apparatus, comprising, a shipment conveyance device, wherein the shipment conveyance




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      device is a shipping container, a pallet, or a piece of luggage. For example, JBH provides containers

      (“shipment conveyance device”) for shipping and/or delivering goods, products, items, and/or other

      objects which are equipped with Orbcomm devices.

104. As described above (see ¶ 51), and upon information and belief, JBH provides a global positioning

      device, wherein the global positioning device is located in, on, or at, the shipment conveyance

      device, and further wherein the global positioning device determines a position or location of the

      shipment conveyance device. For example, JBH’s shipping containers are fitted with Orbcomm

      devices which comprise a global positioning device to determine a position/location of the shipping

      container. Further, JBH provides a mobile application and a desktop application (“Shipper 360”)

      which is used by customers to track and trace their cargo.

105. As described above (see ¶ 52), and upon information and belief, JBH also provides a processor,

      wherein the processor generates a message in response to an occurrence of an event, or in response

      to a request for information regarding the shipment conveyance device which is automatically

      received by a receiver, wherein the message contains information regarding a shipment of the

      shipment conveyance device. For example, JBH’s shipping containers are fitted with the Orbcomm

      devices (“processing device”) which measure information related to shipping container including

      one or more of, but not limited to, the location of the shipping container, the temperature in the

      shipping container, and the presence of cargo in the shipping container and therefore, JBH provides

      a processor which processes information regarding the shipment conveyance device. As a further

      example, JBH’s shipping containers equipped with Orbcomm devices detect an event including one

      or more of, but not limited to, deviation in temperature and deviation in planned route and, in

      response to the detected event, send alerts (“message”) containing information about the event to the

      customers of JBH. On information and belief, these alerts are viewed via a computer application




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      and/or a mobile application provided by JBH. Therefore, on information and belief, JBH provides a

      processor which generates a message in response to occurrence of an event and the message contains

      information regarding the position and location of the shipment conveyance device. As a further

      example, JBH’s shipping containers, fitted with Orbcomm devices, measure information using

      sensors including one or more of, but not limited to, a GPS sensor, a temperature sensor and a sensor

      that detects the presence of cargo, and transmit information in the form of alerts to JBH’s customers

      after a request for information is received by JBH automatically. Therefore, on information and

      belief, JBH provides a receiver which receives a request for information automatically.

106. As described above (see ¶ 53), and upon information and belief, JBH provides a transmitter, wherein

      the transmitter is located in, on, or at, the shipment conveyance device, and further wherein the

      transmitter transmits the message to a communication device associated with an owner of the

      shipment conveyance device or an individual authorized to receive the message. For example,

      JBH’s shipping containers (“shipment conveyance device”), fitted with the Orbcomm devices, send

      information (“message”) including one or more of, but not limited to, location, presence of cargo and

      temperature, to JBH’s customers. As a result, the customers monitor their shipments present in the

      shipping containers using a computer or mobile device. Therefore, JBH provides a transmitter for

      transmitting a message to a communication device associated with an owner or an individual

      authorized to receive the message.

107. As described above (see ¶ 54), and upon information and belief, JBH provides a sensor, wherein the

      sensor monitors or measures a temperature during a shipment or a transportation of the shipment

      conveyance device, a shock exerted on the shipment conveyance device, an impact exerted on the

      shipment conveyance device, or a force exerted on the shipment conveyance device. For example,

      JBH’s shipping containers equipped with Orbcomm devices include at least one or more of, but not




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      limited to, a temperature sensor for measuring at least a temperature experienced by the shipping

      container during transportation. Therefore, JBH’s shipping containers fitted with Orbcomm devices

      comprise sensors that monitor and measure at least one or more of, but not limited to, temperature,

      shock, impact and force experienced by the shipment conveyance device.

108. As described above (see ¶ 55), and upon information and belief, JBH also provides a message which

      contains information regarding a temperature during the shipment or the transportation, a change in a

      shipment or transportation temperature, or an impact or force exerted on the shipment conveyance

      device. For example, JBH’s shipping containers, fitted with Orbcomm devices, monitors at least a

      temperature in the shipping container and transmit this temperature information (“message”) to

      JBH’s customers. As a further example, JBH’s shipping containers, fitted with Orbcomm devices,

      detects changes in the temperature in the shipping container and transmit an alert (“message”) to

      JBH’s customers if the change exceeds a predetermined threshold. Therefore, JBH provides a

      message which contains information regarding temperature of shipment.

109. As described above (see ¶ 56), and upon information and belief, JBH further provides an apparatus

      wherein the event is a detection of a deviation from a pre-determined shipment or transportation

      route associated with a shipment or a transportation of or involving the shipment conveyance device.

      For example, JBH’s shipping containers equipped with Orbcomm devices send GPS location

      information and associated alerts. Therefore, on information and belief, JBH’s shipping containers

      equipped with Orbcomm devices detect events related to deviation from a pre-determined

      transportation route.

110. As described above (see ¶ 57), and upon information and belief, JBH further provides an apparatus

      wherein the shipping container, the pallet, or the piece of luggage, is a refrigerated container, a




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      heated container, or an insulated container. For example, some of JBH’s shipping containers are

      refrigerated containers.

111. To the extent JBH continues, and has continued, its infringing activities noted above in an infringing

      manner post-notice of the ’268 Patent, such infringement is necessarily willful and deliberate.

112. On information and belief, JBH has a policy or practice of not reviewing the patents of others.

      Further on information and belief, JBH instructs its employees to not review the patents of others for

      clearance or to assess infringement thereof. As such, JBH has been willfully blind to the patent

      rights of Plaintiff.

113. Each of JBH’s aforesaid activities has been without authority and/or license from Plaintiff.

                                                    COUNT V

                                  (Infringement of U.S. Patent No. 7,253,731)

114. Plaintiff incorporates the above paragraphs by reference.

115. JBH has been on actual notice of the ’731 Patent at least as early as the date it received service of

      this Original Complaint.

116. On information and belief, JBH owns and controls the operation of the Accused Instrumentalities

      and generates substantial financial revenues therefrom.

117. Upon information and belief, JBH has directly infringed and continue to directly infringe at least

      Claims 1, 5, 9, 11, and 16 of the ’731 Patent by making, using, importing, selling, and/or, offering

      for sale the Accused Instrumentalities.

118. JBH, with knowledge of the ’731 Patent, also infringes at least Claims 1, 5, 9, 11, and 16 of the ’731

      Patent by inducing others to infringe the ’731 Patent. In particular, JBH intends to induce its

      customers to infringe the ’731 Patent by encouraging its customers to use the Accused

      Instrumentalities in a manner that results in infringement.




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119. JBH also induces others, including its customers, to infringe at least Claims 1, 5, 9, 11, and 16 of the

      ’268 Patent by providing technical support for the use of the Accused Instrumentalities.

120. As described above (see ¶ 50), and upon information and belief, JBH makes, uses, sells and offers

      for sale an apparatus, comprising, a shipment conveyance device, wherein the shipment conveyance

      device is associated with a shipment, and further wherein the shipment conveyance device is at least

      one of a shipping container, a pallet, and a tote. For example, JBH provides containers (“shipment

      conveyance device”) for shipping and/or delivering goods, products, items, and/or other objects

      which are equipped with Orbcomm devices.

121. As described above (see ¶ 85), and upon information and belief, JBH provides a memory device,

      wherein the memory device is located in, on, or at, the shipment conveyance device, wherein

      information regarding the shipment is stored in the memory device, and further wherein the

      information regarding the shipment includes a description of a good, product, or item, being shipped

      or transported via the shipment conveyance device, and at least one of origination information,

      sender information, shipper information, destination information, receiver information, handling

      instruction information, delivery instruction information, invoice information, packing slip

      information, delivery time information, and payment instruction information, regarding the

      shipment. For example, JBH’s shipping containers are fitted with the Orbcomm devices which

      comprise sensors including one or more of, but not limited to, a GPS sensor, a temperature sensor,

      and a sensor that determines the presence of cargo in the shipping container (“shipment conveyance

      device”). As a further example, and on information and belief, JBH’s shipping containers equipped

      with Orbcomm devices store at least an identification of JBH (since it communicates the position of

      the container and measurements from the sensors), and therefore JBH provides a memory device

      which stores at least one or more of origination information, sender information, and shipper




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      information regarding the shipment conveyance device. As a further example, JBH’s shipping

      containers equipped with Orbcomm devices store at least an identification of JBH’s container (since

      it communicates the position of the container and measurements from the sensors), and therefore

      JBH provides a memory device which stores at least one or more of origination information, sender

      information, and shipper information regarding the shipment conveyance device. As a further

      example, JBH’s shipping containers equipped with Orbcomm devices store at least an identification

      of JBH’s customer (since it communicates the position of the container and measurements from the

      sensors to JBH (who may have multiple customers availing JBH’s services at any given time) and

      JBH must correlate the information to the particular customer in order to provide updates to the

      customer), and therefore JBH provides a memory device which stores at least one or more of

      origination information, sender information, shipper information, destination information and

      receiver information regarding the shipment conveyance device.

122. As described above (see ¶ 51), and upon information and belief, JBH provides a global positioning

      device, wherein the global positioning device is located in, on, or at, the shipment conveyance

      device, and further wherein the global positioning device determines a position or location of the

      shipment conveyance device. For example, JBH’s shipping containers are fitted with Orbcomm

      devices which comprise a global positioning device to determine a position/location of the shipping

      container. Further, JBH provides a mobile application and a desktop application (“Shipper 360”)

      which is used by customers to track and trace their cargo.

123. As described above (see ¶¶ 52, 54 and 55), and upon information and belief, JBH also provides a

      processing device, wherein the processing device processes at least one of information regarding the

      shipment and information regarding the shipment conveyance device in response to an occurrence of

      an event or in response to a request for information regarding the shipment or the shipment




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   conveyance device, wherein the processing device generates a message containing information

   regarding the position or location of the shipment or the shipment conveyance device and

   information regarding at least one of the occurrence of an event, a status of the shipment, a shipment

   temperature, and an impact or force on the shipment conveyance device. For example, JBH’s

   shipping containers are fitted with the Orbcomm devices (“processing device”) which measure

   information related to shipping container including one or more of, but not limited to, the location of

   the shipping container, the temperature in the shipping container, and the presence of cargo in the

   shipping container and therefore, JBH provides a processor which processes information regarding

   the shipment conveyance device. As a further example, JBH’s shipping containers equipped with

   Orbcomm devices detect an event including one or more of, but not limited to, deviation in

   temperature and deviation in planned route and, in response to the detected event, send alerts

   (“message”) containing information about the event to the customers of JBH. On information and

   belief, these alerts are viewed via a computer application and/or a mobile application provided by

   JBH. Therefore, on information and belief, JBH provides a processor which generates a message in

   response to occurrence of an event and the message contains information regarding the position and

   location of the shipment conveyance device. As a further example, JBH’s shipping containers, fitted

   with Orbcomm devices, measure information using sensors including one or more of, but not limited

   to, a GPS sensor, a temperature sensor and a sensor that detects the presence of cargo, and transmit

   information in the form of alerts to JBH’s customers after a request for information is received by

   JBH automatically. Therefore, on information and belief, JBH provides a receiver which receives a

   request for information automatically. As a further example, JBH’s shipping containers equipped

   with Orbcomm devices include at least one or more of, but not limited to, a temperature sensor for

   measuring at least a temperature experienced by the shipping container during transportation.




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      Therefore, JBH’s shipping containers fitted with Orbcomm devices comprise sensors that monitor

      and measure at least one or more of, but not limited to, temperature, shock, impact and force

      experienced by the shipment conveyance device. As a further example, JBH’s shipping containers,

      fitted with Orbcomm devices, monitors at least a temperature in the shipping container and transmit

      this temperature information (“message”) to JBH’s customers. As a further example, JBH’s shipping

      containers, fitted with Orbcomm devices, detects changes in the temperature in the shipping

      container and transmit an alert (“message”) to JBH’s customers if the change exceeds a

      predetermined threshold. Therefore, JBH provides a message which contains information regarding

      temperature of shipment.

124. As described above (see ¶ 53), and upon information and belief, JBH provides a transmitter, wherein

      the transmitter is located in, on, or at, the shipment conveyance device, and further wherein the

      transmitter transmits the message to a communication device associated with at least one of an

      individual or entity, a sender of the shipment, a receiver of the shipment, a carrier of the shipment,

      and an individual or entity authorized to receive information regarding the shipment or the shipment

      conveyance device. For example, JBH’s shipping containers (“shipment conveyance device”), fitted

      with the Orbcomm devices, send information (“message”) including one or more of, but not limited

      to, location, presence of cargo and temperature, to JBH’s customers. As a result, the customers

      monitor their shipments present in the shipping containers using a computer or mobile device.

      Therefore, JBH provides a transmitter for transmitting a message to a communication device

      associated with an owner or an individual authorized to receive the message.

125. As described above (see ¶ 54), and upon information and belief, JBH provides a sensor, wherein the

      sensor monitors or measures at least one of a temperature during shipment, a shock exerted on the

      shipment conveyance device, an impact exerted on the shipment conveyance device, and a force




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      exerted on the shipment conveyance device. For example, JBH’s shipping containers equipped with

      Orbcomm devices include at least one or more of, but not limited to, a temperature sensor for

      measuring at least a temperature experienced by the shipping container during transportation.

      Therefore, JBH’s shipping containers fitted with Orbcomm devices comprise sensors that monitor

      and measure at least one or more of, but not limited to, temperature, shock, impact and force

      experienced by the shipment conveyance device.

126. As described above (see ¶ 55), and upon information and belief, JBH also provides a message which

      contains information regarding at least one of a temperature of the shipment, a change in a shipment

      temperature, and an impact or force exerted on the shipment conveyance device. For example,

      JBH’s shipping containers, fitted with Orbcomm devices, monitors at least a temperature in the

      shipping container and transmit this temperature information (“message”) to JBH’s customers. As a

      further example, JBH’s shipping containers, fitted with Orbcomm devices, detects changes in the

      temperature in the shipping container and transmit an alert (“message”) to JBH’s customers if the

      change exceeds a predetermined threshold. Therefore, JBH provides a message which contains

      information regarding temperature of shipment.

127. As described above (see ¶ 56), and upon information and belief, JBH further provides an apparatus

      wherein the event is a detection of a deviation from a pre-determined transportation route associated

      with the shipment. For example, JBH’s shipping containers equipped with Orbcomm devices send

      GPS location information and associated alerts. Therefore, on information and belief, JBH’s

      shipping containers equipped with Orbcomm devices detect events related to deviation from a pre-

      determined transportation route.

128. As described above (see ¶ 92), and upon information and belief, JBH further provides an apparatus

      wherein the event is a detection of a shipment temperature which deviates from a shipment




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       temperature requirement. For example, JBH’s shipping containers equipped with Orbcomm devices

       transmit alerts to JBH’s customers when the temperature in the container is detected beyond a

       threshold, and therefore, detects events including, but not limited to, deviation in shipment

       temperature.

129. As described above (see ¶ 57), and upon information and belief, JBH further provides an apparatus

       wherein the shipping container, the pallet, or the piece of luggage, is a refrigerated container, a

       heated container, or an insulated container. For example, some of JBH’s shipping containers are

       refrigerated containers.

130. To the extent JBH continues, and has continued, its infringing activities noted above in an infringing

       manner post-notice of the ’731 Patent, such infringement is necessarily willful and deliberate.

131. On information and belief, JBH has a policy or practice of not reviewing the patents of others.

       Further on information and belief, JBH instructs its employees to not review the patents of others for

       clearance or to assess infringement thereof. As such, JBH has been willfully blind to the patent

       rights of Plaintiff.

132. Each of JBH’s aforesaid activities has been without authority and/or license from Plaintiff.

                                              PRAYER FOR RELIEF

                   WHEREFORE, Transcend respectfully requests the Court enter judgment against JBH:

  1.       Declaring that JBH has infringed each of the Transcend Patents;

  2.       Declaring that JBH’s infringement of each of the Transcend Patents has been willful and

           deliberate;

  3.       Awarding Transcend compensatory damages as a result of JBH’s infringement of the Transcend

           Patents;




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4.    Awarding Transcend treble damages and pre-judgment interest under 35 U.S.C. § 284 as a result

      of JBH’s willful and deliberate infringement of the Transcend Patents;

5.    Granting a permanent injunction pursuant to 35 U.S.C. § 283, enjoining JBH from further acts of

      infringement with respect to the Transcend Patents;

6.    Awarding Transcend its costs, attorneys’ fees, expenses, and interest;

7.    Awarding Transcend ongoing post-trial royalties; and

8.    Granting Transcend such further relief as the Court finds appropriate.



                                          JURY DEMAND

      Transcend demands trial by jury, under Fed. R. Civ. P. 38.



 Dated: May 13, 2021                               Respectfully Submitted

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